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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF LOUISIANA
                                  LAFAYETTE DIVISION


PATRINA COULON                                         CASE NO. 6:21-CV-00019

VERSUS                                                 JUDGE JAMES D. CAIN, JR.

SCHOOL BOARD OF ST MARY PARISH ET                      MAGISTRATE JUDGE PATRICK J.
AL                                                     HANNA


                                     NOTICE OF MOTION SETTING

        Please take notice that the Motion to Dismiss for Failure to State a Claim (Document No. 4) filed by
Teresa Bagwell and School Board of St Mary Parish on March 26, 2021 has been referred to the Honorable
James D. Cain, Jr. for consideration on or after the next regular motion date, which is April 28, 2021. The
motion date is used by the Court for tracking purposes and does not guarantee the motion will be considered
on this date. A written ruling will be issued in due course.

                                                   Deadlines

       Any party who opposes the motion may file a memorandum in opposition within twenty-one (21)
days after service of the motion in accordance with LR 7.5. The movant may file a reply within seven (7)
days after the memorandum in opposition is filed. Reply memoranda are limited to 7 pages. Leave of
court will be required to file any additional briefs. OPPOSITION TO THE MOTION MUST BE FILED
TIMELY OR THE MOTION WILL BE CONSIDERED UNOPPOSED.

                                              No Oral Argument

        It is the policy of the Court to decide motions on the basis of the record without oral argument.
Briefs should fully address all pertinent issues. All parties will be notified if the Court finds oral argument
is necessary.

                                       Courtesy Copies Not Required

        The parties are relieved of their obligation under LR 7.1 to provide chambers with courtesy copy of
the briefs and any attachments filed in connection with this motion.


DATE OF NOTICE: March 26, 2021

                                             TONY R. MOORE
                                             CLERK OF COURT
